                            EXHIBIT D




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                                EXHIBIT A




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Case 20-04002-MJH   Doc 73-11   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 5 of 41
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 NAME OF PARTY / ACCOUNT REFERENCE                                DECLARATION OF MAILING
                                                                  CERTIFICATE OF SERVICE
 SARAH HOOVER




On 12/20/2019, I did cause a copy of the following documents, described below,
Third Letter with Authorization and exhibits - 12-20-2019




to be served for delivery by the United States Postal Service, via First Class United States Mail, First Class, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if
fully set forth herein.

Parties who were mailed documents via certified mail, return receipt requested, are those listed as certified on the attacheed mailing
matrix.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com. A copy
of the declaration of service is attached hereto and incorporated as if fully set forth herein.

DATED: 12/20/2019
                                                            /s/ Christina L Henry
                                                            Christina L Henry 31273
                                                            Henry & DeGraaff, PS
                                                            787 Maynard Ave S
                                                            Seattle, WA 98104
                                                            206 330 0595




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           Case 20-04002-MJH            Doc 73-11       Filed 11/13/20       Ent. 11/13/20 21:51:27 Pg. 34 of 41
 NAME OF PARTY / ACCOUNT REFERENCE                                DECLARATION OF MAILING
                                                                  CERTIFICATE OF SERVICE
 SARAH HOOVER




On 12/20/2019, I did cause a copy of the following documents, described below,
Third Letter with Authorization and exhibits - 12-20-2019




to be served for delivery by the United States Postal Service, via First Class United States Mail, First Class, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if
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DATED: 12/20/2019
                                                            /s/ Christina L Henry
                                                            Christina L Henry 31273
                                                            Henry & DeGraaff, PS
                                                            787 Maynard Ave S
                                                            Seattle, WA 98104
                                                            206 330 0595




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           Case 20-04002-MJH            Doc 73-11       Filed 11/13/20       Ent. 11/13/20 21:51:27 Pg. 35 of 41
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

1 MORTGAGE WAY                           ROBERT MCDONALD                          HSBC BANK USA N.A. AS TRUSTEE
MAILSTOP SV13                            QUALITY LOAN SERVICE CORP. OF WA         OF THE FIELDSTONE MORTGAGE
MOUNT LAUREL NJ 08054                    108 1ST AVE S                            INVESTMENT TRUST SERIES 2006-2
                                         SUITE 202                                ATTN: NOEL QUINN CEO
                                         SEATTLE WA 98104                         425 5TH AVE
                                                                                  NEW YORK NY 10018



                                                                                  DEBTOR
LANCE E. OLSEN                           MICHAEL LAPPANO
MCCARTHY HOLTHUS LLP                     REGIONAL DIRECTOR OF ACQUISITIONS        SARAH HOOVER
108 1ST AVE S                            INVITATION HOMES                         18205 106TH ST E
SEATTLE WA 98104                         15900 SE EASTGATE WAY SUITE 150          BONNEY LAKE WASH. 98391
                                         BELLEVUE WA 98008




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